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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

MIN MYOSHA,                       )
                                  )
            Plaintiff,            )
                                  )
      vs.                         )                Case No. 18-cv-08059
                                  )
FIRST NATIONAL COLLECTION         )                Honorable Robert W. Gettleman
BUREAU, INC., LVNV FUNDING LLC, )
RESURGENT CAPITAL SERVICES, L.P., )
and ALEGIS GROUP, LLC,            )
                                  )
            Defendants.           )

                                JOINT STATUS REPORT

1.     Nature of the Case

       A.    Hearing Date and Time:

             This matter is set for a status hearing on September 19, 2019 at 9:15 a.m.

       B.    Attorneys of Record (indicating which attorney is expected to try the case):

             Daniel A. Edelman, Catherine M. Combs, Tara L. Goodwin, and Bryan G. Lesser
             of Edelman, Combs, Latturner & Goodwin, LLC, represent plaintiff. Tara L.
             Goodwin will be the lead trial attorney for plaintiff.

             Robbie Malone, Eugene Xerxes Martin, Patrick Watts, and Cooper M. Walker
             represent defendants First National Collection, Inc., LVNV Funding, LLC,
             Resurgent Capital Services, L.P., and Alegis Group, LLC. Robbie Malone will be
             the lead trial attorney for defendants.

       C.    Nature of the Claim and any Counterclaim (including brief statement of
             factual context of case, and description of any affirmative defenses):

             Plaintiff has alleged that defendants have violated the Fair Debt Collection
             Practices Act (“FDCPA”), when they engaged in the following conduct: sending
             collection letters with materially misleading information implying that credit
             reporting might occur on debts by the current account owner where no such credit
             reporting could possibly occur due to the lengthy of time which has elapsed since
             first delinquency. Defendants assert that no FDCPA violation has occurred. In the
             alternative, Defendants assert that any violation that has occurred was the result of
             a bona fide error.
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      D.     Discovery

             The Parties have provided their mandatory initial disclosures. The Parties have
             sent, received, and responded to the first set of discovery requests. The Parties
             held a Rule 37 Conference. The Defendants provided supplemental objections and
             answers to Plaintiff’s requests. The Plaintiff has served a second set of discovery
             requests on Defendant First National Collection Bureau (“FNC”).

      E.     Anticipated Discovery Motions:

             Plaintiff expects to file a motion to compel regarding the Defendants’ financial
             statements, pertinent policies and procedures, other complaints and inquiries from
             consumers referring to debts over 7.5 years old, the authorization to collect the
             debt at issue, any compensation structure between the Defendants, telephone
             records regarding the Plaintiff, and the Defendants’ personal knowledge of the
             underlying creditor’s intention to report the debt.

      F.     Deposition Schedule:

             The following depositions have been tentatively scheduled:

             Resurgent Capital 30(b)(6): 9:00 a.m. October 11, 2019.

             Alegis Group, LLC 30(b)(6): 12:00 p.m. October 11, 2019.

             LVNV Funding, LLC 30(b)(6): 1:00 p.m. October 11, 2109.

             FNC 30(b)(6): 9:00 a.m. October 17, 2019.

             Scott Carroll: October 17, 2019.

             Eliseo Montenegro: October 17, 2019.

             Min Myosha: schedule pending.




Dated: 9/13/2019                           Respectfully submitted,

 /s/Tara L. Goodwin                               /s/Robbie Malone
 Tara L. Goodwin                                  Robbie Malone
 ______________________________                   ______________________________

 Daniel A. Edelman                                ROBBIE MALONE
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Attorneys for Plaintiff Min Myosha       Attorneys for First National Collection
                                         Bureau, Inc., LVNV Funding, LLC,
                                         Resurgent Capital Services, L.P., and
                                         Alegis Group, LLC




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                               CERTIFICATE OF SERVICE

         I, Tara L. Goodwin, hereby certify that on September 13, 2019 I caused to be filed the
foregoing document via the CM/ECF System, which caused to be sent notification of such filing
to all counsel of record.



                                                           s/Tara L. Goodwin
                                                           Tara L. Goodwin

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